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                                           Settlement Agreement & Release

                   The Parties to this Settlement Agreement and Release (“Agreement”) are
            Plaintiff Linda Stecker (“Stecker”), both individually and on behalf of the
            individuals who join this matter pursuant to 29 U.S.C. § 216(b) (the “Collective
            Class”), and Defendant O’Brien Steel Services Co. (“O’Brien Steel”) (collectively the
            “Parties”).

                                                             Recitals

                   WHEREAS, in a lawsuit captioned Stecker v. O’Brien Steel Services Co., Case
            No. 19-cv-00400, U.S. District Court, E.D. of Wisconsin (the “Lawsuit”), Stecker
            alleges that O’Brien Steel failed to properly pay her and similarly situated
            individuals overtime premium compensation for hours worked over forty in a
            workweek and for failing to factor into the regular rate certain bonuses.

                  WHEREAS, O’Brien Steel denies the allegations in the Lawsuit and denies
            any and all liability to Stecker or the Collective Class.

                   WHEREAS, O’Brien Steel has provided data and information relevant to
            Stecker’s allegations to Stecker’s Counsel, Hawks Quindel, S.C., and, after a
            detailed analysis of the data, the Parties engaged in arm’s length settlement
            negotiations. Through the negotiations, the Parties were able to reach agreement
            upon a total settlement fund to provide compensation for the alleged unpaid wages
            to Stecker and those Collective Class members employed in O’Brien Steel’s
            Milwaukee office.

                   WHEREAS, Hawks Quindel, S.C., has represented Stecker and negotiated
            with O’Brien Steel at arm’s length throughout this matter to ensure that Stecker
            and the Collective Class are properly compensated for time spent working in excess
            of forty hours in a workweek;

                   WHEREAS, this Agreement resolves bona fide disputes involving allegations
            of overtime compensation owed under the Fair Labor Standards Act (“FLSA”), 29
            U.S.C. § 201, et al., as well as bona fide disputes regarding overtime compensation
            owed under state statutes, local laws and administrative regulations;

                  WHEREAS, subject to approval by the Court, the Parties have reached a
            binding agreement to settle this matter upon the terms and conditions set forth
            herein (the “Settlement”).

                  NOW, THEREFORE, in consideration of the mutual promises contained
            herein and other good and valuable consideration, the receipt of which is hereby
            acknowledged, the Parties do hereby settle, compromise, and resolve any and all
            claims, as specified herein on the following terms:


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            I.       General Terms of Settlement

                     A.      For the purpose of settlement only, the Parties agree to stipulate to a
                             29 U.S.C. § 216(b) collective class as defined in Section IV.A., below
                             (the “Collective Class”).

                     B.      In exchange for the Release of Claims and other promises contained
                             herein, O’Brien Steel will, in accordance with the manner and timing
                             provided for in Sections III(A)–IV(C), below, make payments to
                             Stecker, the Collective Class, and Stecker’s Legal Counsel, Hawks
                             Quindel, S.C., in the amounts identified in Section III, below, and
                             Exhibit A to this Agreement.

                     C.      Stecker understands and acknowledges that, although O’Brien Steel
                             are entering into this Agreement and making the payments hereunder,
                             O’Brien Steel does not admit to any wrongdoing or violation of Federal
                             or State statutes or regulations of any kind, including those cited in
                             Section II.A. below, and expressly denies the same.

            II.      Release of Claims, Acknowledgments, and Agreement to Cooperate

                     A.      Stecker’s Release of Claims.

                             Upon approval of this Agreement and the Entry of Dismissal, Stecker
                             hereby and forever completely releases and discharges O’Brien Steel
                             from any claims for unpaid overtime compensation including: (1)
                             claims for unpaid overtime compensation pursuant to the Fair Labor
                             Standards Act of 1938 (“FLSA”), 29 U.S.C. § 201, et. seq., including any
                             claim for retaliation pursuant to 29 U.S.C. § 215(a)(3); (2) claims for
                             unpaid overtime and agreed upon compensation pursuant to
                             Wisconsin’s wage and hour laws, including Wis. Stats. Chapters 103
                             and 109, and Wis. Admin Code Ch. DWD §§ 272 and 274, and pursuant
                             to the law of any other State and of any local government; and (3) any
                             state common law wage claims for unpaid overtime and agreed upon
                             compensation, including, but not limited to, breach of contract
                             (whether express or implied), promissory estoppel, unjust enrichment
                             and quantum meruit;

                     B.      Stecker and Collective Class Members’ Release of FLSA Claims.

                             Upon approval of this Agreement and the Entry of Dismissal, the
                             Collective Class Members who have filed their consent forms with the
                             Court release their FLSA claims for unpaid overtime resulting from
                             O’Brien Steel’s alleged failure to pay overtime compensation, between
                             March 19, 2016 and October 16, 2019.



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                     C.      Stecker and Collective Class Members’ Release of Wisconsin Claims.

                             Upon approval of this Agreement and the Entry of Dismissal, the
                             Collective Class Members who have agreed to release their Wisconsin
                             Law Claims by so indicating on the consent form filed with the Court,
                             will release their Wisconsin law claims for unpaid overtime
                             compensation and agreed upon wages, between March 19, 2016 and
                             October 16, 2019, including (1) claims for unpaid overtime and agreed
                             upon compensation pursuant to Wisconsin’s wage and hour laws,
                             including Wis. Stats. Chapters 103 and 109, and Wis. Admin Code Ch.
                             DWD §§ 272 and 274, and pursuant to the law of any other State and
                             of any local government; and (2) any state common law wage claims for
                             unpaid overtime and agreed upon compensation, including, but not
                             limited to, breach of contract (whether express or implied), promissory
                             estoppel, unjust enrichment and quantum meruit.

                     D.      Acknowledgments and Agreement to Cooperate.

                             Stecker acknowledges and agrees that the amounts payable pursuant
                             to this Agreement resolve a bona fide dispute regarding the payment of
                             overtime compensation, agreed upon wages, liquidated damages, civil
                             penalties, and her legal fees and costs. Stecker further agrees that this
                             settlement represents fair and reasonable compensation for any
                             unpaid wages she may have accrued during her employment with
                             O’Brien Steel, inclusive of any claim for liquidated damages. Stecker
                             further acknowledges and agrees she has been given sufficient time to
                             read this Agreement and its attached Exhibits A-D prior to his
                             execution of it, understands their terms, and has consulted with
                             Hawks Quindel, S.C., about the legal effects of this Agreement.
                             Finally, Stecker agrees to direct her counsel, Hawks Quindel, S.C., to
                             take any action necessary to ensure that the terms of this Agreement
                             are fully carried out, and authorizes Hawks Quindel, S.C., to work
                             cooperatively with O’Brien Steel to seek judicial approval of this
                             Agreement, including preparation of court required pleadings.

            III.     Settlement Payments

                     A.      Settlement Fund.

                             As consideration for the releases in Section II above, O’Brien Steel
                             shall pay $80,000 (the “Settlement Fund”), less any sums allocated on
                             Exhibit A to any individual who does not file a consent form with the
                             Court. This Settlement Fund is inclusive of attorneys’ fees and costs,
                             liquidated damages, civil penalties, compensatory and punitive
                             damages, and an enhancement payment as described below. If the



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                             Agreement is not approved by the Court, O’Brien Steel will cease to
                             have any obligation to pay or provide any portion of the Settlement
                             Fund, the releases in Section II above will not be effectuated, and this
                             matter will move forward in litigation.

                     B.      Allocation of the Settlement Fund.

                             1.       Enhancement Payments - $4,500.00 of the Settlement Fund
                                      shall be allocated as an enhancement payment to Stecker in
                                      recognition of her in bringing this claim, serving as the named
                                      plaintiff and class representative, providing information to and
                                      assisting counsel in bringing this matter as a class action, her
                                      insistence that the matter be resolved on class-wide basis, and
                                      the assistance she provided Plaintiff’s Counsel in bringing this
                                      matter to resolution. $1,000.00 of the Settlement Fund shall be
                                      allocated as an enhancement payment to Erin Hill in recognition
                                      of the assistance and information she provided in litigating this
                                      matter. O’Brien Steel will issue an IRS Form 1099 to Stecker
                                      and to Hill respectively for this enhancement payment.

                             2.       Attorneys’ fees - $25,000.00 of the Settlement Fund shall be
                                      allocated as attorneys’ fees. Plaintiff’s Counsel will seek
                                      approval of this fee award contemporaneously with seeking
                                      approval of this Agreement.

                             3.       Costs - $473.00 of the settlement fund shall be allocated as costs.

                             4.       Settlement Class Funds – The remaining portion of the
                                      Settlement Fund, $49,027.00, shall be allocated among two
                                      separate funds:

                                      a. Wisconsin Settlement Fund – $24,513.50 of the Settlement
                                         Fund shall be allocated to the Wisconsin Settlement Fund.
                                         Collective Class Members, who agree to release their
                                         Wisconsin law claims by so indicating on a consent to join
                                         form, shall receive a pro-rata share of the Wisconsin
                                         Settlement Fund in an amount not to exceed the figure set
                                         forth for such Collective Class Member in Exhibit A. For tax
                                         purposes, two-thirds of each payment from the Wisconsin
                                         Settlement Fund shall constitute unpaid wages and shall be
                                         subject to regular payroll withholdings. O’Brien Steel will
                                         report the unpaid wages portion to each Collective Class
                                         Member on an IRS Form W2. One-third shall be attributed to
                                         liquidated damages for which each Collective Class Member
                                         will receive an IRS Form 1099 from O’Brien Steel.



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                                      b. The FLSA Settlement Fund - $24,513.50 of the Settlement
                                         Fund shall be allocated to the FLSA Settlement Fund. Each
                                         individual who opted into this matter at the close of the
                                         notice period shall receive a pro-rata share of the FLSA
                                         Settlement Fund in an amount set forth for such individual
                                         in Exhibit A. For tax purposes, one-half of each payment
                                         shall constitute unpaid wages and shall be subject to regular
                                         payroll withholdings. O’Brien Steel will report the unpaid
                                         wages portion to each opt-in plaintiff on an IRS Form W2.
                                         One-half shall be attributed to liquidated damages for which
                                         each opt-in plaintiff will receive an IRS Form 1099 from
                                         O’Brien Steel.

            IV.      Settlement Approval Process.

                     A.      Stipulation to 29 U.S.C. § 216(b) Collective Class Certification.

                             The Parties agree to file a stipulated motion to certify a 29 U.S.C.
                             § 216(b) Collective Action of the following Class:

                                      All individuals employed by O’Brien Steel as an Inside Sales
                                      Representative in O’Brien Steel’s Milwaukee Office at any time
                                      since March 19, 2016 whose names appear on Exhibit A of this
                                      Agreement.

                             The stipulated motion is attached as Exhibit B to this Agreement.

                     B.      Approval Order.

                             If this Agreement is approved by the Court, the Parties will seek an
                             Order Approving Settlement:

                             1.       Certification of this case as a collective action under 29 U.S.C.
                                      § 216(b);

                             2.       Approving the Agreement as fair, reasonable, and adequate as it
                                      applies to the Collective Class;

                             3.       Appointing Stecker as Class Representative for the Collective
                                      Class;

                             4.       Appointing Hawks Quindel, S.C. as Collective Class Counsel;

                             5.       Approving the Notice in the form of Exhibit C for distribution to
                                      all Collective Class Members;




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                             6.       Declaring the Agreement to be binding on O’Brien Steel, Stecker
                                      and the Collective Class;

                             7.       Indicating the amount of attorneys’ fees and costs to be awarded
                                      to Class Counsel consistent with the Settlement.

                     C.      Settlement Administration.

                             If the Court grants approval of this Agreement, the settlement will be
                             administered by Plaintiff’s Counsel. The parties agree to the following
                             procedure for settlement administration:

                             1.       Settlement Allocations. Individual settlement allocations shall
                                      be made in the amounts set forth in Exhibit A. Each check will
                                      indicate that it is void after ninety days.

                             2.       Issuance of Notice. Within seven days of the Court’s Order
                                      granting approval of the Settlement (Exhibit D), Plaintiff’s
                                      Counsel will mail the Notice to the Collective Class Members in
                                      a form substantially similar to what is attached hereto as
                                      Exhibit C and made a part of this Agreement, along with a self-
                                      addressed envelope. The Notice will be sent by first-class U.S.
                                      Mail. The Notice shall inform Collective Class Members of the
                                      approximate amount they are entitled to receive if they choose
                                      to participate in the settlement as stated in Exhibit A and how
                                      they can participate in the settlement. The Collective Class
                                      Members shall have thirty days from the mailing of the notice to
                                      return a consent form (the “notice period”).

                                      If the mailing of Notice is returned as undeliverable, Plaintiff’s
                                      Counsel shall take other appropriate steps to identify proper
                                      current addresses for the Class Members. If, after a second
                                      mailing of the Notice, the Notice is returned by the postal
                                      service as undeliverable, the Parties shall be deemed to have
                                      satisfied their obligation to provide the applicable Notice to that
                                      Class Member.

                             3.       Payment schedule. Within fourteen days of the close of the
                                      notice period, Plaintiff’s Counsel will notify O’Brien Steel in
                                      writing of the names of all individuals who have filed consent
                                      forms in this Court and will provide such filed forms. Within
                                      seven days after receiving such notice, O’Brien Steel will deliver
                                      to Plaintiff’s Counsel settlement checks for Attorneys’ Fees,
                                      Costs, Service Payment to Stecker, Service Payment to Hill, and
                                      for the allocated shares of the Settlement Class Funds
                                      (collectively the “Settlement Checks”) for all individuals who


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                                      have filed consent forms with the Court. Specifically, O’Brien
                                      Steel will deliver to Plaintiff’s Counsel the allocated shares of
                                      the FLSA Settlement Fund for those individuals whose consent
                                      forms have been timely filed with the Court. Additionally,
                                      O’Brien Steel will deliver to Plaintiff’s Counsel the allocated
                                      shares of the Wisconsin Settlement Fund for those individuals
                                      who have timely filed a consent form indicating that they agree
                                      to release their Wisconsin law claims. The allocation of each
                                      payment is provided in Exhibit A. Within seven days of
                                      receiving these checks, Plaintiff’s Counsel will mail them to the
                                      class members. Each settlement check shall indicate on its face
                                      that it is void after ninety days of issuance.

                                      O’Brien Steel has no obligation to make any settlement payment
                                      to any individual who does not file a consent form with the
                                      Court nor to Plaintiff’s Counsel for the allocated shares of the
                                      Settlement Fund on Exhibit A for such individuals. Such
                                      individuals will not release any FLSA claims and O’Brien Steel
                                      agrees that it will not argue that such an individual cannot
                                      bring FLSA claims in the future based on res judicata, claim
                                      preclusion, and/or waiver.

                                      O’Brien Steel has no obligation to make the allocated Wisconsin
                                      Settlement Fund payment to any individual who does not agree
                                      to release his or her Wisconsin law claim by so indicating on the
                                      consent form filed with the Court, nor to Plaintiff’s Counsel for
                                      the allocated shares of the Wisconsin Settlement Fund allocated
                                      on Exhibit A for such individuals. Such individuals will not
                                      release any Wisconsin law claims and O’Brien Steel agrees that
                                      it will not argue that such an individual cannot bring Wisconsin
                                      law claims in the future based on res judicata, claim preclusion,
                                      and/or waiver.

                             4.       Cy Pres. Any portion of the Settlement Class Fund allocated to
                                      an individual whose consent form was filed with the Court and
                                      whose settlement payment check remains uncashed more than
                                      ninety days after issuance shall be considered cy pres and
                                      O’Brien Steel shall pay that amount to The Employee Rights
                                      Advocacy Institute for Law & Policy, 2201 Broadway, Suite 420,
                                      Oakland, CA 94612. Within twenty-one days of the expiration of
                                      the settlement checks, O’Brien Steel shall deliver to Plaintiff’s
                                      Counsel an accounting of unclaimed settlement funds (including
                                      name of recipient and amount of checks not cashed). Within
                                      seven days of Plaintiff’s Counsel’s approval, O’Brien Steel shall
                                      mail a check to the cy pres recipient, copying Plaintiff’s Counsel.


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            V.       Entry of Dismissal and Enforcement of this Agreement.

            The Parties agree to seek dismissal with prejudice of the Stecker’s released claims,
            and the Collective Class Members’ released claims effective on the date on which
            the Entry of Dismissal is filed with the Court. The Parties agree that the Court
            shall retain jurisdiction to enforce the terms of the Agreement. Accordingly, within
            fourteen days of Plaintiff’s Counsel’s receipt of the Settlement Checks in the
            correct amounts, Plaintiff’s Counsel will file a Stipulated Motion for Dismissal and
            Proposed Order. The Stipulated Motion for Dismissal shall be with prejudice and
            without additional costs to either party.

            Failure to timely comply with the terms of this Agreement shall result in Stecker
            and the Collective Class Members’ ability to seek enforcement of the terms of this
            Agreement, including an award of additional attorneys’ fees and costs incurred in
            any such enforcement action. The Parties specifically consent to the Court’s
            jurisdiction to enforce the Agreement in this matter over this matter after approval
            of settlement.

            VI.      Governing Law

            This Agreement shall be construed and interpreted in accordance with the laws of
            the State of Wisconsin.

            VII.     Entire Agreement

            This Agreement and its Exhibits A-D constitute the entire Agreement between the
            Parties with regard to the matters set forth herein, and supersedes any prior
            written or oral agreements. In entering into this Agreement, Stecker expressly
            acknowledges that she is not relying on advice from O’Brien Steel, including
            O’Brien Steel’ principals, owners, or attorneys, or any other individual or entity
            other than Hawks Quindel, S.C.

            VIII. Severability

            If any provision of this Agreement shall be found invalid or unenforceable in whole
            or in part, that provision shall be deemed excised from this Agreement.

            IX.      Counterparts

            The Agreement may be executed in counterparts, and when each party has signed
            and delivered at least one such counterpart, each counterpart shall be deemed an
            original, and, when taken together with other signed counterparts, shall constitute
            one Agreement, which shall be binding upon and effective as to all Parties. The
            Agreement may be executed by electronic means, including DocuSign or a similar
            service and/or an image (.pdf) of a signature.



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              IN WITNESS WHEREOF, the undersigned have duly executed this Agreement.



             12/19/2019


              Dated                                          Linda Stecker on behalf of herself and
                                                             the Collective Class




                                                             Defendant O’Brien Steel Services Co.
              Dated

                                                             By:


                                                             Its:




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IN WITNESS WHEREOF, the undersigned have duly executed this Agreement.




Dated                                Linda Stecker on behalf of herself and
                                     the Collective Class




                                     Defendant O’Brien Steel Services Co.
Dated

                                     By:


                                     Its:   President




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        Title First Name Last Name Pro Rata Percentage        Service Payment         FLSA Damages (W2)   FLSA Liquidated Damages (1099)   WI Law Damages (W2)   WI Law Civ. Penalties (1099)      TOTAL
        Mrs.     Linda     Stecker        42.32%                 $4,500.00                 $5,186.72                  $5,186.72                  $6,915.63               $3,457.81              $25,246.88
        Mrs.      Erin       Hill         23.86%                 $1,000.00                 $2,924.56                  $2,924.56                  $3,899.41               $1,949.70              $12,698.22
        Mr.       Cord    Hansen          13.37%                                           $1,638.91                  $1,638.91                  $2,185.21               $1,092.61               $6,555.64
        Ms.     Kristine Brzezinski       20.45%                                           $2,506.57                  $2,506.57                  $3,342.09               $1,671.04              $10,026.27
                          TOTALS         100.00%                 $5,500.00                $12,256.75                 $12,256.75                 $16,342.33               $8,171.17              $54,527.00
                                                                                                                                                                      ATTORNEYS' FEES           $25,000.00
                                                                                                                                                                           COSTS                  $473.00
                                                           TOTAL WAGE SETTLEMENT         $80,000.00                                                                  TOTAL SETTLEMENT           $80,000.00
                                                                ATTORNEYS' FEES          $25,000.00
                                                                      COSTS                $473.00
                                                         L. STECKER SERVICE PAYMENT       $4,500.00
                                                            E. HILL SERVICE PAYMENT       $1,000.00
                                                                    FLSA FUND            $24,513.50
                                                                  WI LAW FUND            $24,513.50
                                                           TOTAL WAGE SETTLEMENT         $80,000.00




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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF WISCONSIN
                                          MILWAUKEE DIVISION

            LINDA STECKER,
            individually and on behalf of
            all others similarly situated,
                         Plaintiff,                                 Case No.:     19-CV-400-WED

                     v.

            O’BRIEN STEEL SERVICE CO.,
                     Defendant.


                           STIPULATED MOTION TO CONDITIONALLY CERTIFY
                          A COLLECTIVE ACTION PURSUANT TO 29 U.S.C. § 216(b)


                     Plaintiff Linda Stecker, on behalf of herself and others similarly-situated

            (“Plaintiff”), and Defendant O’Brien Steel Service Co. (“O’Brien Steel”) (collectively

            the “Parties”), through their respective undersigned counsel, submit this Stipulated

            Motion to Conditionally Certify a Collective Action Pursuant to 29 U.S.C. § 216(b).

            This stipulated motion is entered into, and the class is certified, only as a condition

            of and for purposes of the settlement reached between the “Parties”. The Parties,

            through negotiation, reached a settlement in this case. In connection with this

            settlement, the Parties agreed to stipulate to conditional certification of the

            proposed 29 U.S.C. § 216(b) Class defined below, for settlement purposes only.

                     1.      The Parties stipulate to and move the court to conditionally certify a

            Collective Action of the following collective class pursuant to 29 U.S.C. § 216(b):

                             All individuals employed by O’Brien Steel as an
                             Inside Sales Representative in O’Brien Steel’s
                             Milwaukee Office at any time since March 19, 2016



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                             whose names appear on Exhibit A of the Parties’
                             Settlement Agreement.

                     2.      Plaintiff Linda Stecker is similarly situated to the potential Collective

            Class members in the class because she was employed as an Inside Sales

            Representative of O’Brien Steel during the relevant statutory period and was

            subject to the same compensation policies and practices as members of the potential

            putative class;

                     3.      Many of O’Brien Steel’s defenses are not individual to members of the

            Collective Class; rather, they are applicable across the Collective Class;

                     4.      Fairness and procedural considerations support proceeding as a

            Collective Class;

                     5.      Subject to the Court’s granting of approval of the Parties’ Settlement

            Agreement and Release, the Parties intend to send Notice to the Collective Class

            members in the form attached as Exhibit C to the Parties’ Settlement Agreement

            and Release.

                     6.      If the Parties’ proposed settlement is not approved by the Court, or the

            settlement is terminated or fails to become effective in accordance with the terms of

            the Settlement Agreement, this Stipulation and the Court’s Order as to this

            Stipulation shall be vacated without further order of the Court and the Parties will

            request a new schedule from the Court.

                     Respectfully submitted this __th day of November, 2019.

              Respectfully submitted,                        Respectfully Submitted,

              s/                                             s/
              Roy G. Davis                                   Larry A. Johnson, SBN 1056619
                                                              2

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                                                             tmaynard@hq-law.com

              Davis & Campbell L.L.C.                        Hawks Quindel, S.C.
              401 Main Street, Suite 1600                    222 E Erie Street, Suite 210
              Peoria, IL 61602-1241                          Milwaukee, WI 53202
              (309) 673-1681 (office)                        (414) 271-8650 (office)
              (309) 673-1690 (facsimile)                     (414) 271-8442 (facsimile)

              Attorneys for Defendant                        Attorneys for Plaintiff




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                           LEGAL NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
        THIS IS NOT AN ADVERTISEMENT OR ATTORNEY SOLICITATION. THIS NOTICE HAS BEEN APPROVED BY THE U.S. DISTRICT COURT FOR THE EASTERN DISTRICT OF
                        WISCONSIN AND CONTAINS IMPORTANT INFORMATION ABOUT YOUR LEGAL RIGHTS. PLEASE READ THIS NOTICE CAREFULLY.

               This notice is being sent pursuant to a proposed settlement of the following collective action lawsuit pending in the
                                              U.S. District Court for the Eastern District of Wisconsin:

                                    Stecker v. O’Brien Steel Services Co., Case No. 19-cv-00400

     A. WHAT IS THIS NOTICE FOR?                                                    D.     WHAT DOES THE SETTLEMENT DO?
    This notice is to inform you that:                                            The proposed Settlement resolves the claims
                                                                                  before the Court decides which side should win
    •      You may opt into this action by returning the
                                                                                  this case.
           enclosed consent form. If you opt-in, you will
           be entitled to [FLSA AMOUNT].                                          As part of the Settlement, O’Brien Steel has
                                                                                  agreed to pay $80,000 (“Settlement Fund”) to
    •      You may also release your Wisconsin law
                                                                                  resolve this lawsuit. That amount resolves the
           claims by checking the box on the enclosed
                                                                                  alleged FLSA, state, and/or local law claims of
           consent form. If you check the box, you will
                                                                                  the collective class members’ in this action,
           be entitled to [WI AMOUNT], in addition to
                                                                                  including attorneys’ fees, costs, service
           the above amount.
                                                                                  payments, unpaid wages, and liquidated
    •      You may take no action. If you take no action,                         damages/civil penalties/interest. A service
           you will not receive either amount identified                          payment of $4,500.00 will be requested from the
           above and you will not release any legal                               Settlement Fund for Named Plaintiff Stecker due
           claims.                                                                to her efforts in obtaining a collective class-wide
                                                                                  recovery.
     B.        WHAT IS THIS LAWSUIT ABOUT?                                          E.     DO I HAVE AN ATTORNEY IN THIS
    Linda Stecker filed a complaint against O’Brien                                        CASE?
    Steel Services Co. (“O’Brien Steel”) alleging that                            The Court has appointed attorneys Larry A.
    O’Brien Steel failed to pay its inside sales                                  Johnson, Summer H. Murshid, and Timothy P.
    representatives employed in its Milwaukee                                     Maynard of Hawks Quindel, S.C. as Class Counsel.
    location, agreed upon and overtime wages for all
    hours worked. O’Brien Steel denies these                                      Participating Class Members will not be required
    allegations and contends that it properly                                     to make any payments to Class Counsel for any
    compensated its employees.                                                    of the litigation costs from their individual
                                                                                  settlement amounts identified in this Notice.
    The complaint alleges violations of Wisconsin                                 Class Counsel will receive an award of
    and federal law (FLSA) and seeks back pay,                                    $25,000.00 in attorneys’ fees and $500.00 in
    liquidated damages, civil penalties, interest, and                            costs out of the Settlement Fund.
    attorneys’ fees and costs.
                                                                                    F.     IF I PARTICIPATE, DO I NEED TO
           C. WHY AM I INCLUDED?                                                           WORRY ABOUT RETALIATION?
    You received this Notice because O’Brien Steel’s                              O’Brien Steel cannot terminate your
    records show that you were employed as an                                     employment, or treat you any differently
    inside sales representative during at least one                               because of your participation in, or exclusion
    workweek since March 19, 2016.                                                from, the Settlement.




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      G.    WHAT ARE MY OPTIONS?                              H.    WHERE CAN I GET MORE
                                                                    INFORMATION?
        1. Sign and Return the Enclosed Consent
           Form and Check the Wisconsin Law                  If you have additional questions or need
           Release Box.                                      additional information, please contact Class
            If you want to receive [FLSA + WI LAW            Counsel at:
            AMOUNT], which is the full amount you
                                                                             Hawks Quindel, S.C.
            can receive in exchange for release of
                                                                           Attn: Timothy P. Maynard
            your alleged Wisconsin and Federal law
                                                                   P.O. Box 442, Milwaukee, WI 53201-0442
            claims, you must sign and return the                            Phone: (414) 271-8650
            enclosed consent form by [date 30 days                           Fax: (414) 271-8442
            from mailing] and check the box to                           Email: tmaynard@hq-law.com
            release your Wisconsin Law Claims.
            Return your consent form to:                     PLEASE NOTE: Inquiries for additional information
                                                              or advice should NOT be directed to the Court or
                        Hawks Quindel, S.C.                   O’Brien Steel’s Counsel. You may hire an attorney
                      Attn: Timothy P. Maynard                 other than Class Counsel to discuss your rights
              P.O. Box 442, Milwaukee, WI 53201-0442                 under the Settlement if you choose.
                       Phone: (414) 271-8650
                        Fax: (414) 271-8442
                    Email: tmaynard@hq-law.com
        2. Sign and Return the Enclosed Consent
           Form Without Checking the Wisconsin
           Law Release Box.

            If you return the enclosed consent form
            without checking the Wisconsin Law
            Release Box, you will only receive [FLSA
            AMOUNT]. You will release your FLSA
            claims, but you will retain your Wisconsin
            Law Claims.

        3. Do Nothing.
            If you do nothing, you will receive no
            compensation as a result of this
            Settlement and you will retain your right
            to bring your own claim against O’Brien
            Steel for unpaid wages.




    NOTE: To receive the greatest amount of
    money from the settlement, you must both
    return your consent form and check the
    Wisconsin Law Release Box on that form.




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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF WISCONSIN
                                          MILWAUKEE DIVISION

            LINDA STECKER,
            individually and on behalf of
            all others similarly situated,
                         Plaintiff,                                  Case No.:    19-CV-400-WED

                     v.

            O’BRIEN STEEL SERVICE CO.,
                     Defendant.


                                                             ORDER


                     Having reviewed the Parties’ Joint Motion for Approval of Collective Action

            Settlement and its supporting documents, IT IS HEREBY ORDERED that:

                     1.      the Parties’ Settlement Agreement (ECF No. ##-#) is a fair, reasonable,

            and adequate resolution of bona-fide disputes under the FLSA and Wisconsin’s

            wage and hour laws;

                     2.      the Parties’ Joint Stipulation to Certify a Collective Action Pursuant to

            29 U.S.C. § 216(b) (ECF No. ##) is GRANTED;

                     3.      Linda Stecker is APPOINTED as Class Representative for the

            29 U.S.C. § 216(b) collective class;

                     4.      Hawks Quindel, S.C. is APPOINTED as Class Counsel;

                     5.      the Parties’ proposed Notice of Class Action Settlement (ECF No. ##-#)

            is APPROVED as the best notice practicable under the circumstances for

            distribution to all putative members of the Collective Class and approving that the




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            provision of the Notice of Class Action Settlement by mail constitutes valid, due,

            and sufficient notice to Collective Class Members in full compliance with applicable

            law, including the due process clause of the United States Constitution;

                     6.      Defendant’s Counsel

                     7.      SHALL PRODUCE a class list to Class Counsel as a Microsoft Excel

            spreadsheet including each putative Class Member’s name, street address, city,

            state, zip code, and phone number (with each piece of data as a separate column)

            within seven (7) days of the date of this Order;

                     8.      Class Counsel SHALL MAIL the Notice of Class Action Settlement to

            the Class Members within seven (7) days of the Defense Counsel providing a class

            list as set forth in Section 6 above;

                     9.      any putative member of the Collective Class SHALL FILE a Consent

            Form within thirty (30) days of Notice’s mailing (the “Notice Period”) in order to

            assert their FLSA claims as set forth in this matter;

                     10.     Defendant SHALL DELIVER to Class Counsel the payments

            contemplated in the Settlement Agreement and Exhibit A of the Settlement

            Agreement within fourteen (14) days of the close of the Notice Period;

                     11.     Class Counsel SHALL FILE a Stipulated Motion for Dismissal within

            fourteen days of Class Counsel’s receipt of the settlement checks from Defendant.

                     Dated in Milwaukee, Wisconsin this __ day of ________ 2019.



                                                      ____________________________
                                                      WILLIAM E. DUFFIN

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                                                      U.S. Magistrate Judge




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